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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION

 WHITE RIVER HARDWOODS-                           )
 WOODWORKS, INC.,                                 )
                                                  )
                        Plaintiff,                )
                                                  )
 vs.                                              )
                                                         CIVIL ACTION NO: 5:24-cv-05054-SOH
                                                  )
 PENNSYLVANIA LUMBERMENS                          )
 MUTUAL INSURANCE COMPANY ,                       )
                                                  )
                        Defendant.
                                                  )

                      AGREED MOTION TO SUSPEND RULE 26(f)
                   DEADLINES IN THE INITIAL SCHEDULING ORDER

        COME NOW, the undersigned counsel for the Parties and file this Agreed Motion to

Suspend Rule 26(f) Deadlines in the Initial Scheduling Order (“Motion”) stating as follows:

        1.      Plaintiff filed a Complaint against Defendant on March 6, 2024. (Dkt. 2).

Thereafter, Defendant moved to dismiss the Complaint. (Dkt. 7-8).

        2.      On June 11, 2024, the Court entered its Initial Scheduling Order that set the

deadlines for both the Rule 26(f) Conference and the subsequent Rule 26(f) Report. (Dkt. 9).

        3.      The Parties met and conferred in good faith via email on July 18, 2024, regarding

the Rule 26(f) Conference and Report deadlines and mutually agreed to file this Motion.

        4.      Specifically, the Parties mutually request that the Rule 26(f) deadlines contained in

the Initial Scheduling Order be suspended during the pendency of Defendant’s Motion to Dismiss

proceedings.

        5.      The Parties affirmatively state that their request is not made for purposes of delay

but in the interest of justice, and to allow sufficient time to properly engage in the Rule 26(f)




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process without the shadow of the pending Motion to Dismiss. Thus, good cause exists for this

Motion.

        6.      At this time, the requested extension will not affect any of the other dates set in the

case. However, in an abundance of caution, the Parties reserve the right to request that the trial

setting also be moved.

        WHEREFORE, the Parties respectfully request that the Court suspend the Rule 26(f)

deadlines in the Initial Scheduling Order during the pendency of Defendant’s Motion to Dismiss

proceedings.

        Dated: July 18, 2024.                                 Respectfully submitted,

                                                              /s/ Emily A. Neal
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                                    CERTIFICATE OF SERVICE

        This will certify that on July 18, 2024, the undersigned filed the above and foregoing

document with the Clerk of this Court using the CM/ECF filing system which will send notification

of same to all counsel of record.

        Dated: July 18, 2024.

                                                     /s/ Kenneth W. Boyles, Jr.
                                                     Kenneth W. Boyles, Jr.




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